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    9
   10                      UNITED STATES DISTRICT COURT
   11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   12
   13 NEMAN BROTHERS & ASSOC.,                    Case No. 2:20-cv-11181-CAS-JPRC
      INC., a California Corporation,
   14                                             SECOND SUPPLEMENTAL BRIEF
                   Plaintiff,                     OF INTERFOCUS, INC. IN
   15                                             SUPPORT OF MOTION FOR
            v.                                    SUMMARY JUDGMENT ON
   16                                             COPYRIGHT INVALIDITY
      INTERFOCUS, INC. d.b.a.
   17 www.patpat.com, a Delaware
      Corporation; CAN WANG, and                  (Filed Concurrently with Declaration of
   18 individual, and DOES 1-10, inclusive.,      Mark S. Lee and Exhibits 1-16 in
                                                  Support Thereof)
   19              Defendants.                    Filing Date: October 27, 2022
                                                  Time: Under Submission
   20                                             Courtroom: 8D
      INTERFOCUS, INC. d.b.a.
   21 www.patpat.com, a Delaware                  The Hon. Christina A. Snyder
      Corporation; CAN WANG, an
   22 individual, and DOES 1-10, inclusive,
   23              Counterclaim Plaintiffs,
   24        v.
   25 NEMAN BROTHERS & ASSOC.,
      INC., a California Corporation,
   26
                   Counterclaim Defendant.
   27
   28

            INTERFOCUS’ SECOND SUPPLEMENTAL BRIEF IN SUPPORT OF INTERFOCUS’ MOTION FOR
                                       SUMMARY JUDGMENT
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    1                MEMORANDUM OF POINTS AND AUTHORITIES
    2 I.      INTRODUCTION.
    3         Recently obtained evidence establishes that Plaintiff Neman Brothers &
    4 Assoc., Inc. (“Neman Brothers”) was at least willfully blind to applicable legal
    5 requirements when it intentionally filed copyright applications with inaccurate
    6 authorship information. The Register of Copyrights has ruled the Copyright Office
    7 would have rejected those applications if it had known the true facts. Summary
    8 judgment of copyright invalidity should be entered in Defendant InterFocus, Inc.’s
    9 (“InterFocus’”) favor for these reasons as described below.
   10 II.     PROCEDURAL BACKGROUND.
   11         A.     The Parties Cross-Move for Summary Judgment.
   12         Cross-motions for summary judgment are pending before this Court. Neman
   13 Brothers seeks summary judgment on liability and statutory damages (Dkt. No. 41),
   14 while InterFocus both opposes Neman Brother’s motion and cross-moves for
   15 summary judgment on the grounds that Neman Brothers’ three copyright
   16 registrations at issue are invalid as a matter of law.1 (Dkt. Nos. 46, 66 and 68.)
   17         B.     This Court Refers the Copyright Invalidity Question to the
                     Register of Copyrights.
   18
              Neman Brothers admitted in discovery that there were factual inaccuracies in
   19
        the three group copyright registrations it alleged InterFocus infringed herein (Dkt.
   20
        Nos. 66, 68, 72 and 81). This Court therefore reserved judgment on the pending
   21
        motions and asked the Copyright Office whether it would have refused to register
   22
   23   1
          InterFocus also opposes summary judgment for Neman Brothers on the grounds
   24   there are factual disputes whether Neman Brothers’ current copyright claims are
        barred by: 1) its breach of the “notice and cure” provisions in a previous settlement
   25
        agreement; 2) the “first sale” doctrine, because InterFocus acquired the allegedly
   26   infringing goods from authorized Neman Brothers’ producers in China or Vietnam;
        and 3) a lack of protectable similarities between Neman Brothers’ and InterFocus’
   27
        goods. (Dkt. Nos. 46, 66 and 68.)
   28
                                                  1
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    1 them if it had known the truth about authorship of the works identified in them.
    2 (Dkt. No. 82 at 28.) This Court did that to comply with 17 U.S.C. § 411(b) and
    3 Ninth Circuit authority which directed this Court to make such a request in these
    4 circumstances. (Dkt. No. 82 at 25-28; see Unicolors, Inc. v. H&M Hennes &
    5 Mauritz, L.P., 959 F.3d 1194, 1197 (9th Cir. 2020).)
    6         C.    The Supreme Court Issues Its Unicolors Decision.
    7         After this Court inquired with the Copyright Office, the Supreme Court
    8 vacated and remanded the Ninth Circuit’s Unicolors decision in Unicolors, Inc., v.
    9 H&M Hennes & Mauritz, L.P., --U.S.--, 142 S. Ct. 941 (2022). The Supreme Court
   10 advised that both factual inaccuracies and at least “willful blindness” to legal filing
   11 requirements were required to refer a copyright validity question to the Copyright
   12 Office. 142 S. Ct. at 948. It remanded the case to the Ninth Circuit to apply that
   13 standard, 142 S. Ct. at 949, and the Ninth Circuit has given no further guidance in
   14 the remanded action as of the filing of this brief.
   15         D.    The Register of Copyright Responds to This Court’s Inquiry.
   16         The Register of Copyrights responded to this Court’s inquiry on April 13,
   17 2022. (Dkt. No. 85.) Her Response acknowledged the Supreme Court’s Unicolors
   18 decision and its factual and legal knowledge requirements, as well as this Court’s
   19 request to withdraw its inquiry, but nevertheless found “that the third-party
   20 authorship of works included in the applications raises multiple issues of
   21 registrability.” (Dkt. No. 85 at 2.) The Register therefore provided her “analysis of
   22 the full scope of potential inaccuracies to assist the Court’s determination under [the
   23 Supreme Court’s] Unicolors [decision].” Id.
   24         After a lengthy analysis that discussed not only the third-party authorship
   25 problems but also Neman Brothers’ failure to disclose and limit its claims regarding
   26 the derivative works in its applications, the Register concluded “that the [Copyright]
   27 Office would have refused registration for the subject applications if it had been
   28 aware of the errors in Neman Brothers’ copyright applications.” (Dkt. No. 85 at 6-9,
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    1 18.)
    2        E.     Copyright Invalidity Investigation and Discovery.
    3         This Court allowed InterFocus limited discovery on the legal knowledge
    4 issue after Unicolors, and later set a briefing schedule so the parties could address
    5 how the Supreme Court’s new Unicolors standard applies to the pending summary
    6 judgment motions. (Dkt. Nos. 86, 88 and 92.)
    7        In fact, as shown below, evidence uncovered in InterFocus’ investigation and
    8 discovery demonstrates that Neman Brothers was at least “willfully blind” to the
    9 legal requirements of the group registrations at issue, because the Copyright Office
   10 provided the clearest of directions on authorship and derivative work status but
   11 Neman Brothers ignored them, not only in the three applications at issue but
   12 hundreds of times before. Further, Neman Brothers cannot deny it knew the relevant
   13 legal requirements when it filed the applications at issue, because the former
   14 employees who filed them are gone and Neman Brothers doesn’t knows what they
   15 knew or did not know when those applications were filed.
   16        When Neman Brothers filed the three applications at issue, group registrations
   17 had to be completed in one of two ways. First, an applicant could use the Copyright
   18 Office’s “Form VA” (that is, “Form Visual Arts”) paper application. (Lee Decl. ¶¶
   19 3-5; Exs. 1-7.) Those application forms had attached to their front “line-by-line
   20 instructions” that had to be physically removed from the application page before it
   21 could be completed and submitted to the Copyright Office. (Id.) The layout of those
   22 instructions changed slightly from time to time, but the relevant language on
   23 authorship and derivative work status was the same in all of them. (Id.) Neman
   24 Brothers admitted those instructions were clear. (Neman Brothers’ Rule 30(b)(6)
   25 witness Deposition [“30(b)(6) Depo.”] 25:17-26:1; Lee Decl. ¶ 17 and Exs. 8 and 9.)
   26        Those instructions described the legal requirements to fill out each line of the
   27 Form VA application. (Lee Decl. ¶ 5; Exs. 1-7.) At all relevant times, line 2 of Form
   28 VA required applicants to name the “author” of the works for which copyright
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    1 protection was sought in the application. Corresponding Section 2 of the attached
    2 instructions stated that “[u]nless the work was ‘made for hire,’ the individual who
    3 actually created the work is its ‘author[,]’” as shown below. What constituted a
    4 “work made for hire” was defined immediately below that explanation as including,
    5 inter alia, “’a work prepared by an employee within the scope of his or her
    6 employment[,]” as also shown below:
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   20 (Lee Decl. ¶ 5; Exs. 1-7.)
   21       As shown above, Space 6 of the application required applicants to state
   22 whether the works that are the subject of the application were based on earlier
   23 works, and corresponding Section 6 of the line-by-line instructions explained that
   24 Space 6 should be completed “if this work is a ‘changed version,’ ‘compilation’ or
   25 ‘derivative work,’ and if it incorporates one or more earlier works that have already
   26 been published or registered.” It further explained that “[a] derivative work’ is ‘a
   27 work based on one or more preexisting works.’” (Lee Decl. ¶ 5; Exs. 1-7.)
   28         Neman Brothers admitted that it understood that “author” means the person
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    1 who created the work. (Neman Brothers’ 30(b)(6) Depo. 26:14-20; Lee Decl. ¶17
    2 and Ex. 9.) Neman Brothers’ principal Yoel Neman previously admitted that
    3 Neman Brothers’ regularly included works created by third parties in its group
    4 applications, which Neman Brothers’ employees did not create. (Neman Depo
    5 26:16-24, 133:22-134:12, Dkt. Nos. 68 at 6, 66-1 at 2, and 66-2.) Neman Brothers’
    6 principal Yoel Neman also previously admitted that Neman Brothers regularly
    7 included changed versions of earlier designs in its group applications, which were
    8 designated by an “x,” “xx,” or “xxx” next to the Neman Brothers’ design number in
    9 the works listing. (Neman Depo. 86:22-90:14, Dkt. Nos. 72 at 6, 66-1 at 2, and 66-
   10 2). To the extent those changes in the subsequent versions of those works were
   11 material, they should have been identified as derivative works, and the copyright
   12 protection afforded them should have been limited to new, protectable, original
   13 elements first added to the changed versions to the extent the new material qualified
   14 for copyright protection. (Dkt. No. 85 at 8-9, 13-15.)2
   15        Second, beginning July 1, 2008, an applicant also could file group
   16 applications online using the Copyright Office’s “eCO” standard electronic
   17 application form. (Lee Decl. ¶ 6; Ex. 10.) That online application form contained the
   18 same instructions about “authors,” “works made for hire,” and “derivative works” as
   19 the Form VA paper applications, and those definitions were even more unavoidable
   20 in the online application than they in the paper Form VA instructions. Rather than a
   21 page attached to the front of the application that could be removed with the Form
   22
   23
        2
        The Register of Copyrights noted that one of the three works at issue within the
   24 three applications was based on an earlier design, but concluded it may not have
   25 been separately copyrightable because “upon review of the images provided by
      Neman Brothers, it does not appear that the changes Neman Brothers made to the
   26 purchased design would constitute copyrightable authorship because they consist of
   27 virtually indiscernible modifications” from the purchased design. (Dkt. No. 85 at
      14.) The Register’s conclusion provides an additional reason to invalidate that
   28 registration.
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     1 VA instructions, the very webpage on which an applicant had to complete
     2 authorship information in the online eCO form included text explaining “Author’s
     3 Name… An author is a person who actually created the contribution, unless the
     4 contribution was “Made for hire,” in which case the employer is the author[,]” as
     5 shown below:
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   21 (Lee Decl. ¶ 8; Ex. 11.)
   22         Clicking on the hyperlinks for “Author’s Name” or “Made for hire” on that
   23 page sent (and sends) the applicant to the “Standard Application Help: Author”
   24 page, which explains in even greater detail the “author” and “work made for hire”
   25 requirements described on the application webpage itself, including videos with
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     1 detailed explanations and instructions. (Lee Decl. 8; Ex.11.)3
     2         Neman Brothers had to use one of the above methods to apply for its
     3 copyright registrations, and thus it saw either the paper or online “author, “work
     4 made for hire” and “derivative work” requirements every time it filed an
     5 application. (Lee Decl. ¶¶ 7-8 and Ex. 11.) Neman Brothers was uncertain when it
     6 began using the Copyright Office’s online application portal to complete its online
     7 group applications, but admitted that it had begun applying electronically by 2017,
     8 and that it filed the three group applications at issue electronically. (Neman Brothers
     9 Rule 30(b)(6) Deposition 45:10-23, 46:1-12, Lee Decl. ¶ 17, Ex. 9.) It thus claimed
   10 to be the “author” of the third-party works it included in the three applications at
   11 issue while or within seconds of reading that it did not qualify as the “author” of
   12 those third-party works, because it was neither the “person who actually created”
   13 nor the “employer” of the third parties who actually created those works.
   14          Before and during the time when Neman Brothers filed the three copyright
   15 applications at issue, the Copyright Office made information concerning the
   16 requirements for copyright applications available in several ways in addition to the
   17 paper and online applications themselves. For example, it made available to the
   18 public on the home page of its website a hyperlink to the Copyright Office’s
   19 “Compendium of Offices Practices” (“Compendium”) that contained specific
   20 information about authorship, group copyright applications, and derivative work
   21 status. (Lee Decl. ¶ 9; Ex. 12; Register’s Response, Dkt. No. 85 at 8-9.) That
   22 Compendium clearly defined “author,” stated that each work in group applications
   23
   24    3
          See also, “How to File a Copyright Application-Visual Arts” (2014), and “How to
   25    File Copyrights Online-PA, SR & Multiple Works for One Fee” (2015), tutorials on
         how to file online single VA and group copyright applications, both depict the
   26    Copyright Office’s standard online application form Neman Brothers would have
   27    used when it filed the group applications at issue in 2017 and 2018. (Lee Decl. ¶ 7;
         see https://www.youtube.com/watch?v=twAXvnO_NU0;
   28    https://www.youtube.com/watch?v=hoVD6oa-8EM&t=1009s.
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     1 of unpublished visual arts works had to include original content from the same
     2 author, and explained the need to identify and limit claims for derivative works in
     3 the application. See, e.g., Compendium (Third) (2014) at §§ 621, 621.1 (derivative
     4 works), and at §§ 1106, 1106.1 (group registrations), viewable at
     5 https://www.copyright.gov/comp3/docs/compendium-12-22-14.pdf. (Lee Decl. ¶ 9;
     6 Ex. 12. See also, Register’s Response, Dkt. No. 85 at 8-9 (describing the
     7 Compendium (Third)’s legal requirements when Neman Brothers filed the
     8 applications at issue.)
     9        In addition, the Copyright Office website provided a “Contact Us” button on
   10 the upper portion of the home page that sent users to an online “Contact Form” in
   11 which applicants could ask questions of Copyright Office “Registration Specialists”
   12 on issues including authorship, derivative works, and group registrations. (Lee Decl.
   13 ¶ 10, Exs. 13 and 14; see also, Lieb v. Korangy Publishing, Inc., 2022 WL 1124850,
   14 *11 (E.D.N.Y. April 14, 2022), which describes Registration Specialists and their
   15 role in the copyright application process.)
   16         By the beginning of 2017, when Neman Brothers completed the first of the
   17 three copyright applications at issue, it had over 30 years of experience completing
   18 and filing group copyright applications. (Lee Decl. ¶ 17; Ex. 8 and Ex. A thereto.)
   19 Copyright Office records indicate that it had filed about 357 such application
   20 through 2016, and Neman Brothers had no reason to doubt the accuracy of that
   21 number. (30(b)(6) Depo. 41:4-42:14; Lee Decl. ¶ 17 and Ex. 9.) If it used paper
   22 applications through 2016, it thus had to review, or at least remove, the line-by-line
   23 instructions with “author,” “work made for hire” and “derivative work” definitions
   24 affixed to their front at least 357 times before 2017, once with each such earlier
   25 application. If it began using online applications before 2016, it had to view the
   26 same information in the online applications themselves each time it did so. In either
   27 event, in addition to the information on or in the applications themselves, it had the
   28 opportunity to consult the Copyright Office’s website and linked Compendium of
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     1 Copyright Office Practices and/or communicate with Registration Specialists
     2 through the Copyright Office’s “Contact Us” link on its home page concerning any
     3 questions regarding authorship, derivative works, group registrations or other issues
     4 before each of the hundreds of applications it completed, including the three
     5 applications at issue. (Lee Decl. ¶¶ 7, 9, 10; Ex 8 and Ex. A thereto, Exs. 12-14;
     6 Dkt. Nos. 42-4, 42-6, and 42-8.)4 It also had to read the same online information
     7 about authorship in the ten other online group applications it submitted in 2017.
     8 (Lee Decl. ¶ 7; Ex 8 and Ex. A thereto.)
     9         By the beginning of 2017, Neman Brothers also had litigated extensively over
   10 some of the copyright registrations it obtained before it filed the three copyright
   11 applications at issue. (Lee Decl. ¶ 11; Ex. 15.) It filed or was otherwise involved in
   12 about 61 copyright infringement suits before 2017. Id. Most of those cases settled
   13 shortly after suit was filed, but there were about 15 reported decisions involving
   14 those cases before or during the relevant time period.5 Counsel represented Neman
   15
   16    4
          Neman Brothers later demonstrated it was aware of those resources when it
   17    communicated with a Registration Specialist in 2019 and was advised the Copyright
         Office no longer accepted Form VA for group registrations after the Copyright
   18    Office changed its group application requirements. (Lee Decl. ¶13; Ex 16.) Neman
   19    Brothers thereafter used the recently required Group Registration of Unpublished
         Works (“GRUW”) form thereafter, and limited its group applications to no more
   20    than 10 works to comply with the revised form and rules. (Lee Decl. ¶ 17, Ex. 8 and
   21    Ex. A thereto.) It ultimately has filed 476 group applications through 2021. (Id.)

   22
         5
        Most of those rulings were adverse to Neman Brothers. See, e.g., Neman Brothers
   23 & Associates, Inc. v. Pride & Joys, Inc., 2014 WL 12967545 (C.D. Cal. Nov. 3,
   24 2014) (granting motion to dismiss Neman Brothers’ complaint for lack of
      jurisdiction); Neman Bros. & Assoc. Inc. v. Marsons International, Inc., 2016 WL
   25 9131964 (C. D. Cal. 12/15/2016) (unopposed motion for summary judgment for
   26 Neman Brothers granted); Neman Bros. & Assoc. Inc. v. La Main Connection Inc.,
      2017 WL 8220223 (C.D. Cal. April 19, 2017) (OSC re dismissal issued for failure to
   27 serve defendant issued); Neman Bros. & Assoc. Inc. v. Burlington Stores, Inc., 2017
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     1 Brothers in all those cases. (Id.). Neman Brothers thus had significant copyright
     2 litigation experience, and necessarily communicated with and had easy access to
     3 copyright counsel when it prepared and filed the three copyright applications at
     4 issue.
     5          Filing group registrations with the inaccurate authorship and derivative work
     6 information in the three group applications at issue saved Neman Brothers
     7 significant employee time and money, because it enabled Neman Brothers to obtain
     8 a group registration for thousands of works that would have required thousands of
     9 individual applications and cost it hundreds of thousands of additional dollars if it
   10 had honestly complied with Copyright Office’s filing requirements. (Dkt. No. 85 at
   11 15 [“If the collections did not meet the eligibility requirements for the unpublished
   12 collection option, then certain designs should have been registered separately.”])
   13           InterFocus estimates Neman Brothers would have had to file at least 7,600
   14 additional individual applications, in addition to the 357 group registrations it
   15 actually did file, if Neman Brothers had complied with Copyright Office filing
   16 requirements. (Lee Decl. ¶ 14.) Those applications would have required an
   17 estimated additional 7,140 employee hours, and an estimated additional estimated
   18 $321,300 in filing fees to obtain copyright registrations and protection for the same
   19 number of works Neman Brothers actually obtained from its 357 group applications
   20 at an estimated filing fee cost of $16,065. (Lee Decl. ¶¶ 14-16.)
   21
      WL 5665004 (C.D. Cal. 08/09/2017) (summary judgment for defendants granted
   22 because the works at issue did not share enough protectable similarities to be
   23 infringing) and 2017 WL 5665005 (C.D. Cal. Sept. 5, 2017) (granting defendant’s
      motion for attorneys’ fees as a prevailing party under the Copyright Act); Neman
   24 Brothers & Associates, Inc. v Wal-Mart Stores, Inc., 2017 WL 8220214 (C. D. Cal.
   25 Nov. 15, 2017) (granting motion in limine limiting plaintiff’s ability to cite previous
      copyright infringement complaints); Neman Brothers & Associates, Inc. v. One Step
   26 Up, Ltd., 2017 WL 6885390 (C. D. Cal. Dec. 13, 2017) (granting summary
   27 judgment for defendants on all Neman Brothers copyright infringement and other
      claims) and 2018 WL 1413567 (C. D. Cal. Feb. 12, 2018) (awarding defendants
   28 attorneys’ fees on copyright infringement claims).
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     1         Neman Brothers admitted it was aware that the Copyright Office made and
     2 makes information available about how to correctly apply for a copyright on its
     3 website. (30(b)(6) Depo. 44:4-7; Lee Dec. ¶ 17 and Ex. 9.) However, its designated
     4 30(b)(6) witness denied knowing Neman Brothers’ application practices before
     5 2021, and said she could not testify concerning what Neman Brothers knew or did
     6 not know about the legal requirements for copyright applications when the three
     7 applications at issue were filed in 2017 and 2018 because former employees who
     8 had left Neman Brothers completed applications in those years. (30(b)(6) Depo.
     9 15:7-16:25; Lee Dec. ¶17 and Ex. 9.)
   10 III.     NEMAN BROTHERS’ COPYRIGHT REGISTRATIONS ARE
               INVALID AS A MATTER OF LAW.
   11
   12          A.     This Court Already Ruled that the Three Copyright Applications
                      at Issue Contained Inaccurate Authorship Information.
   13
               This Court previously ruled that “the applications materials provided by
   14
         Neman Brothers, which list Neman Brothers as the sole author of all the works
   15
         included in in applications associated with group copyright registrations VAu-1-
   16
         304-334, VAu-1-317-742 and VAu-1-330-970, confirm that inaccurate information
   17
         was included on the application for copyright registration.” (Dkt. No. 82 at 26-27)
   18
         (internal quotations and citations omitted.) Thus, that Neman Brothers filed the three
   19
         applications at issue with factually inaccurate authorship information has been
   20
         established for summary judgment purposes.
   21
   22          B.     Neman Brothers’ “Willful Blindness” to the Legal Requirements of
   23                 Its Copyright Applications Invalidates the Resulting Registrations
                      as A Matter of Law.
   24
               While the Supreme Court held that a good faith mistake of law will not
   25
         invalidate a copyright application, Unicolors also made clear that a copyright
   26
         applicant’s mere denial of knowledge of the legal requirements of an application
   27
   28 will not establish that good faith, because other evidence can show an applicant
                                                -11-
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     1 acted with “willful blindness” to those requirements. As the Supreme Court stated:
     2              “[C]ourts need not automatically accept a copyright holder's
     3        claim that it was unaware of the relevant legal requirements of
     4        copyright law. We have recognized in civil cases that willful blindness
     5        may support a finding of actual knowledge. Circumstantial evidence,
     6        including the significance of the legal error, the complexity of the
     7        relevant rule, the applicant's experience with copyright law, and other
     8        such matters, may also lead a court to find that an applicant was
     9        actually aware of, or willfully blind to, legally inaccurate information.”
   10 Unicolors v. H&M Hennes & Mauritz, L.P., supra, 142 S. Ct. at 948; internal
   11 citations omitted.
   12         Subsequent case law construing Unicolors confirms that willful blindness can
   13 be established for summary judgment purposes even if a copyright applicant
   14 affirmatively denies knowing applicable legal requirements.
   15         For example, Lieb v. Korangy Publishing, 2022 WL 1124850 (E.D.N.Y.
   16 4/14/2022), granted summary judgment that “Plaintiff made a knowing
   17 misrepresentation to the Register of Copyrights sufficient to require that this matter
   18 be referred …to determine whether the registration would have been refused,” even
   19 though the applicant argued he was not a lawyer and claimed he did not understand
   20 the legal requirement to identify his work as a derivative when he filed the
   21 application. Id. at *15.
   22         The Lieb court held that the applicant’s failure to follow the clear “derivative
   23 work” definition on the application instructions, or consult the online Compendium
   24 of the Copyright Office concerning derivative works, or inquire at the Copyright
   25 Office’s online “Help” page with questions about derivative work status, or consult
   26 with the Copyright Office’s Registration Specialists to address any questions he had
   27 regarding derivative work status, meant the plaintiff/applicant was “willfully blind”
   28 to the application’s legal inaccuracy as a matter of law, despite his denials. Id.at
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     1 *8-*11. Rejecting plaintiff’s argument that the registration at issue should not be
     2 invalidated under Unicolors because he was not a copyright lawyer and did not
     3 understand the legal importance of his failure to identify the work as a derivative,
     4 the Lieb Court stated:
     5               “The clarity of these [Copyright office] resources [defining
     6        derivative works], coupled with the simplicity of the information that
     7        Lieb was asked to provide, makes this a case where only willful
     8        blindness to the law can explain the inaccuracy at issue.”
     9 Lieb v. Korangy Publishing Inc., 2022 WL 1124850 at *13.
   10         Further rejecting the applicant’s argument that under Unicolors his claimed
   11 lack of legal understanding of the importance of identifying underlying works meant
   12 summary judgment had to be denied, the Lieb court continued:
   13                “While Unicolors broadly included Subsection A inaccuracies to
   14         include legal mistakes, it cannot have meant that only copyright
   15         lawyers are in a position to be held accountable for inaccuracies
   16         regarding the law. The ability to understand Form TX and related
   17         materials regarding earlier published work does not require legal
   18         knowledge of the term “derivative” work. Unlike the registration in
   19         Unicolors, Lieb cannot claim that his lack of legal knowledge excuses
   20         the failure to provide accurate information...[T]his is a case where there
   21         is no question but that the applicant was ‘willfully blind’ to providing
   22         accurate information.”
   23 Lieb v. Korangy Publishing Inc., 2022 WL 1124850 at *14.
   24       The Lieb court concluded:
   25         “Lieb could have done any number of things- he did not, but
   26         instead puts the onus on the Copyright Office, or the Court, to
   27         excuse his errors. While Lieb may think his error is meaningless,
   28         that does not require such a finding by the USCO or by this
                                                 -13-
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     1       court.
     2       “…[T]his is a case where the USCO provided the clearest of
     3       directions and the registrant knowingly ignored them.
     4       Accordingly, the Court holds that Lieb presented inaccurate
     5       information to the Copyright Office with knowledge of its
     6       factual and legal inaccuracy. Subsection A of Section 411 has
     7       been satisfied.”
     8 Lieb v. Korangy Publishing, Inc., 2022 WL 1124850 at *14.
     9       Other courts since Unicolors have held similarly. Healthestate, LLC, v.
   10 United States, 160 Fed. Cl. 91, 93 (Ct. Fed. Cl. 2022), for example, granted a motion
   11 to refer questions regarding inaccuracies in copyright applications to the Copyright
   12 Office despite a declaration from the applicant which denied that the applications
   13 were “knowingly inaccurate.” The applications included inaccurate information
   14 about prior publication and the derivative work status of the works submitted. Citing
   15 the “willful blindness” language from Unicolors quoted above, the Court of Claims
   16 held that the evidence presented with the motion was sufficient to refer the validity
   17 questions to the Copyright Office to obtain its expert opinion on the issue. 160 Fed.
   18 Cl. at 96-97.
   19        Similarly, in a case directly analogous to this one, Lauren Adele Oliver v.
   20 Meow Wolf, Inc., 2022 WL 3682936 (D. N.M. Aug. 25, 2022), granted a motion to
   21 refer to the Copyright Office the question of whether it would have registered a
   22 Form VA group registration that included a work Plaintiff did not author. Despite
   23 Plaintiff’s claim that she did not know she had to identify the true author of the work
   24 in the group application, the Oliver court ruled that “Plaintiff was at best willfully
   25 blind to the need to identify [third party author] Ms. Lee as the bench’s author when
   26 she applied for the VA Registration[,]” and thus “knowingly and inaccurately
   27 indicated that she authored the bench [third party author] Ms. Lee designed on her
   28 application for the VA Registration.” Lauren Adele Oliver, 2022 WL 3682936 at
                                             -14-
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     1 8*-*9.
     2        C.     Neman Brothers Was “Willfully Blind” to the Legal Requirements
                     of Its Group Copyright Applications.
     3
     4        Evidence that Neman Brothers does not and cannot dispute establishes that it
     5 was at least “willfully blind” to the legal requirements for authorship and derivative
     6 work status in the three group copyright applications at issue under the above
     7 authorities, for several reasons.
     8       First, the simplicity of the “authorship” and “derivative work” instructions at
    9 issue favor summary judgment. Unicolors holds that the “complexity of the relevant
   10 rule” is a factor by which to evaluate “willful blindness,” 142 S. Ct. at 948, and the
   11 requirements here are not complex. In contrast to the obscure “single unit of
   12 publication” rule at issue in Unicolors, Neman Brothers only had to accurately state
   13 that it or its employees did not “actually create” the third party works it submitted
   14 with its group applications to provide accurate authorship information, and it only
   15 had to identify the revised previous works it included in its applications to limit the
   16 scope of protection afforded the derivative works included in the application. It did
   17 neither. Lieb, Healthestate and Oliver all involved either authorship or derivative
   18 work inaccuracies, and they each expressly or impliedly held those issues were
   19 simple, did not require legal knowledge, and therefore supported referral to the
   20 Register of Copyrights when inaccurate information concerning them was submitted
   21 to the Copyright Office. Lieb, 2022 WL 1124850 at *14; Healthestate, 160 Fed. Cl.
   22 at 96-97, Lauren Adele Oliver, 2022 WL 3682936 at 8*-*9
   23         Second, the clarity and widespread availability of the relevant legal
   24 requirements for “authors” and “derivative works” available to Neman Brothers
   25 favors summary judgment. The Form VA’s and online copyright applications’
   26 definitions for “author,” “work made for hire,” and “derivative work” are very clear.
   27 Information concerning them was available in the line-by-line instructions attached
   28 to or on and in each of the more than 350 paper or online applications Neman
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     1 Brothers had previously completed. That information was also easily available in the
     2 Copyright Office’s online Compendium, online “Help” page, and from Registration
     3 Specialists. The same information was available from its own copyright counsel.
     4 The Lieb court concluded that the only explanation for an applicant’s failure to
     5 comply with instructions of such clarity and availability in a single application was
     6 willful blindness, and granted summary judgment on that basis as described above.
     7 Lieb, 2022 WL 1124850 at *14.
     8         The Lieb court’s ruling is even more obviously justified on the facts present
     9 here. Lieb involved “willful blindness” to the legal requirements of a single
   10 application. Neman Brothers here literally had to claim in the three online
   11 applications at issue that it was the sole “author” of each of the third party works it
   12 included in its applications while or immediately after reading instructions which
   13 made clear that it did not qualify as their author because its employees did not
   14 “actually create” them. Neman Brothers’ employees who completed those
   15 applications could not have avoided reading those clear instructions on the very web
   16 page on which they provided authorship information, and they had to ignore, that is,
   17 metaphorically if not physically close their eyes, to those directions while
   18 inaccurately naming Neman Brothers the “author” of those works it knew it did not
   19 actually create. That is the definition of “willful blindness.” And, Neman Brothers
   20 had to do that not once as in Lieb, or Healthestate, or Lauren Adele Oliver, but
   21 hundreds of times before it filed the three applications at issue as well.
   22         Third, Neman Brothers’ 30+ year history of completing the more than 350
   23 Form VA or online group copyright applications, along with its vast copyright
   24 infringement litigation experience and resulting frequent interaction with and easy
   25 access to copyright counsel, favors summary judgment for InterFocus. Neman
   26 Brothers’ considerable “experience with copyright law” should lead this Court “to
   27 find that [Neman Brothers] was actually aware of, or willfully blind to, legally
   28 inaccurate information.” Unicolors, 142 S. Ct. at 948.
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     1        Fourth, the significant financial benefits Neman Brothers received from filing
     2 its inaccurate group applications favors summary judgment. Neman Brothers’
     3 inaccurate applications allowed it to save thousands of hours of employee copyright
     4 application preparation time it otherwise would have had to incur, and hundreds of
     5 thousands of dollars in copyright application filing fees it otherwise would have had
     6 to pay, to file thousands of individual applications for the thousands of third-party
     7 works listed within them.6 To use only the three applications at issue as examples,
     8 Neman Brothers admitted that all 16 of the works listed in the first group copyright
     9 application at issue were created by third parties. (Dkt. No. 72 at 7.) Since none of
   10 those third-party works were eligible for group registration because Neman Brothers
   11 was not their “author,” inaccurately claiming authorship saved Neman Brothers the
   12 cost and expense of preparing and filing 15 additional copyright applications. While
   13 Neman Brothers couldn’t say how many of the works in the other two applications
   14 were third-party created works, conservatively estimating that 40% of the works
   15 identified in the three group applications at issue were third-party works, filing the
   16 three inaccurate group applications allowed Neman Brothers to avoid filing dozens
   17 of additional individual applications for those third-party works, thereby saving
   18 dozens of hours of employee time and hundreds or thousands of dollars in filing
   19 fees. (Lee Decl. ¶¶ 14-16.)
   20         Neman Brothers cannot argue that such self-serving inaccuracies in
   21 applications it filed over decades were purely accidental. They demonstrate willful
   22
   23
         6
       Applying those same estimates to the 357 group applications Neman Brothers filed
   24 before the three applications at issue, by submitting inaccurate group applications,
   25 Neman Brothers avoided filing about 7,140 additional individual applications for
      such third-party works. Assuming it would take one employee one hour to complete
   26 and file each such application, and would incur a $45 per application filing fee for
   27 such applications, Neman Brothers saved itself approximately 7,140 employee hours
      and $321,300 in filing fees by falsifying its group applications. (Lee Decl. ¶¶ 14-
   28 16.)
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     1 blindness to applicable legal requirements, if not intentional gaming of the copyright
     2 registration system for Neman Brothers’ financial benefit. The inaccurate
     3 application information it utilized allowed it to misuse hundreds of group copyright
     4 applications to claim protection for thousands of works and facilitate the filing of
     5 dozens of copyright infringement suits over what amounted to trivial variations in
     6 generic fabric designs. Its actions created a false public record and consumed
     7 significant judicial resources, conduct that prominent copyright commentators have
     8 condemned. See, e.g., William F. Patry, 5 Patry on Copyright § 17:125 (calling the
     9 fabric designer plaintiff in Unicolors a “troll” who “batches many works into single
   10 ‘collections’” to save money and “obtain registrations that facially cover non-
   11 copyrightable works[,]” thereby facilitating numerous copyright infringement
   12 actions based on minor variations in generic fabric designs.)
   13         Sixth, Neman Brothers’ discovery responses favor summary judgment
   14 because they confirm that Neman Brothers cannot dispute its willful blindness.
   15 Neman Brothers admits that it previously used the paper Form VA copyright
   16 applications, admits the Form VA instructions are “clear,” and admits it
   17 electronically filed the three applications at issue. (30(b)(6) Deposition 25:17-26:1,
   18 45:10-23, 46:1-12, Lee Decl. ¶ 17, Ex. 9.) However, it denied knowing its own
   19 copyright application processes before 2021 because the employees who completed
   20 those applications have left the company. (30(b)(6) Depo. 15:7-16:25; Lee Dec. ¶ 17
   21 and Ex. 9.) It therefore cannot dispute that it saw and understood the clear “author,”
   22 “work made for hire,” and “derivative work” requirements attached to the paper
   23 applications and incorporated into the electronic applications it submitted. It also
   24 cannot deny its willful blindness to, if not actual knowledge of, those requirements
   25 when it filed the applications at issue.
   26         Seventh, the Response the Register of Copyrights filed with this Court favors
   27 summary judgment for InterFocus. The Supreme Court’s Unicolors decision
   28 governs when questions regarding the validity of copyright registrations should be
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     1 referred to the Copyright Office under USC §411(b)(1) & (2). However, here that
     2 issue is moot because the Register of Copyrights, with full knowledge of and while
     3 actually citing Unicolors, has already concluded that it would have refused
     4 registration of the three applications at issue if it had known the true facts
     5 concerning their authorship and derivative work status. (Dkt. No. 82 at 25.) Thus,
     6 the Register of Copyrights has already answered the question Unicolors authorizes
     7 this Court to ask it, and it has determined that the three registrations at issue are
     8 invalid.
     9         This Court should enter summary judgment based on the Register’s advice.
   10 As the Ninth Circuit stated in affirming a summary judgment of copyright invalidity
   11 entered by a district court based on the Register’s Response that it would not have
   12 registered a work if it had known of the true facts concerning another application:
   13                “In light of the Register's response, we agree
   14          that §411(b)(1)(B) is satisfied and that the inaccuracy in the '509
   15          registration renders it invalid … Fiesta included inaccurate
   16          information… in its application, knew the information was inaccurate,
   17          and the Register would have refused registration of the collection if it
   18          had been aware of the inaccuracy… Because a valid registration is a
   19          precondition to bringing an action for infringement, we affirm the
   20          district court's grant of summary judgment in favor of Defendants.”
   21 Gold Value International Textile, Inc. v. Sanctuary Clothing, LLC, 925 F. 3d 1140,
   22 1148 (9th Cir. 2019); see also, Inhale, Inc. v. Starbuzz Tobacco, Inc., 755 F. 3d 1038,
   23 1041-41 (9th Cir. 2014) (“[w]hen interpreting the Copyright Act, we defer to the
   24 Copyright Office’s interpretations in the appropriate circumstances”); Norris
   25 Industries, Inc. v. International Telephone & Telegraph Corp., 696 F. 2d 918, 922
   26 (11th Cir. 1983) (district court should “give deference to the expertise of the
   27 [Copyright] Office…in the interpretation of the law and its application to the facts
   28 presented by the copyright application”).
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     1        In sum, Neman Brothers was not a first-time applicant who made an innocent
     2 mistake on a complex legal question in a single copyright application. Instead, it
     3 was an experienced applicant with a 30+ year history of filing over 350 applications
     4 and years of litigation experience in at least 60 copyright infringement actions. It
     5 failed to comply with the clearest of legal requirements that were attached to or
     6 actually included within the applications it completed in a self-serving way that both
     7 saved it thousands of employee hours and hundreds of thousands of dollars, and
     8 facilitated its filing of dozens of copyright infringement actions. Neman Brothers’
     9 own discovery admissions establish that it cannot claim it “did not know” the
   10 authorship and derivative work requirements in the applications at issue, and even if
   11 it could, such post hoc denials do not create a triable issue of fact as to the willful
   12 blindness other undisputed facts establish when it filed the three copyright
   13 applications at issue under applicable law. The Register of Copyrights has already
   14 advised that the Copyright Office would have refused the relevant applications if it
   15 had known the true facts concerning authorship and derivative work status when the
   16 applications were submitted. Neman Brothers’ three registrations at issue are
   17 factually inaccurate, Neman Brothers was at least willfully blind to their legal
   18 requirements, and this Court should rule they are invalid as a matter of law.
   19 IV.     CONCLUSION.
   20         Summary judgment of copyright invalidity should be granted in InterFocus’
   21 favor, and Neman Brothers’ complaint should be dismissed, and summary judgment
   22 entered on InterFocus’ counterclaim for all the reasons described above.
   23
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     1 Dated: October 27, 2022                  RIMON, P.C.
     2
                                            By: /s/ Mark S. Lee
     3
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     4                                          Zheng Liu
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